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                             IN THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                     Case No.: 17-cv-60426-UU


  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/



                                 DECLARATION OF KEN BENSINGER


            I, Ken Bensinger, declare as follows:

            1.        I am a Senior Investigative Reporter at BuzzFeed News, where I have worked

  since 2014. I submit this declaration in response to Plaintiffs’ motion seeking to compel

  Defendants to disclose the identity of the confidential source (the “Source”) who provided

  Defendants access to the so-called dossier published by BuzzFeed on January 10, 2017 (the

  “Dossier”). I am familiar with the facts herein and make this declaration from my own personal

  knowledge.

            2.        Buzzfeed News is an award winning and renowned news and information digital

  publication and journal with editorial staff of more than 300 people working in multiple offices

  throughout the United States and around the world. Its headquarters are located in New York.

            3.        In 2016 alone, BuzzFeed News won numerous prestigious awards for its

  journalism, earning recognition from the Frontpage Awards, GLAAD Media Awards, the
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  American Society of Magazine Editors, the Livingston Awards, Scripps Howard, and the Society

  for Professional Journalism, among others. In addition, BuzzFeed News was a finalist for the

  Pulitzer Prize in International Reporting. Mark Schoofs, the investigations editor with whom I

  worked closely on reporting the Dossier won the Pulitzer Prize in International Reporting in

  2000.

          4.     I have been a journalist for 20 years. In 2016, I and two other colleagues shared

  the National Magazine Award from the American Society of Magazine Editors for reporting we

  did while at BuzzFeed. I have also won two Gerald Loeb Awards for Distinguished Finance &

  Business Reporting, as well as numerous other journalism prizes.

          5.     Prior to joining BuzzFeed, I worked as a reporter for the Los Angeles Times from

  2007 to 2014. In 2010, while working at the Los Angeles Times, I was a finalist for the Pulitzer

  Prize in National Reporting based on my reporting of potential design flaws in Toyota vehicles.

          6.     Before I worked at the Los Angeles Times, I was a staff writer in New York for

  SmartMoney, a Dow Jones and Hearst joint venture publication, from 2005 to 2007, and I was

  the Mexico correspondent for Variety from 2003-2005. I began my career in journalism as a

  reporter at the Wall Street Journal in New York, where I worked from 1998-2001.

          7.     I live and work in Los Angeles, California, and work closely with editors and

  other reporters at BuzzFeed News headquarters in New York City.

          8.     In late 2016 I became aware that there may be intelligence reports alleging that

  there were connections between the Trump presidential campaign and the Russian government,

  and began pursuing that story. Our reporting on this story was run from BuzzFeed News

  headquarters in New York City under the supervision of BuzzFeed News editor-in-chief Ben




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  Smith and BuzzFeed News investigations editor Mark Schoofs. I consider myself a part of the

  New York-based BuzzFeed News team.

         9.      At Ben’s suggestion, I contacted the Source in late 2016. The Source showed me

  a copy of the Dossier and allowed me to photograph it. Before showing me a copy of the

  Dossier, the Source told me he or she would only do so if I promised him or her that I would

  keep his or her identity absolutely confidential. I promised the Source that I would not under any

  circumstances disclose his or her identity outside of BuzzFeed.

         10.     This interaction with the Source did not occur in Florida.

         11.     More generally, I did not travel to Florida as part of my reporting about the

  Dossier, nor to my knowledge ever communicate with anyone in Florida about the Article, the

  Dossier, or the contents of the Dossier.

         12.     As a reporter, I often speak to sources like the Source at issue here. I believe that

  sources feel comfortable talking to me because I have, over more than 20 years as a journalist,

  carefully cultivated a reputation for honesty and discretion. Many of these sources would not

  speak with me if they believed that, were me or my news organization to get sued, I would

  violate my promise of confidentiality to them. My sources speak with me because they trust me

  to honor my promise of confidentiality.

         13.     In fact, throughout my career, it is precisely because I have kept my promises and

  acted with discretion that sources seek me out or agree to talk. In simple terms, many of these

  people – particularly those with the most sensitive and newsworthy information to share – would

  not talk to me under any other circumstances.




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        14.    I declare under penalty of perjury that the foregoing is true and correct.


  Dated: October 16, 2017



                                                             ____________________
                                                             Ken Bensinger




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